               EXHIBIT A




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 STATE OF NORTH CAROLINA                              IN THE GENERAL COURT OF JUSTICE
                                        F H          F H SUPERIOR COURT DIVISION
 GUILFORD COUNTY                        3 S                       FILE NO.: 9 / /M


 GUILFORD COLLEGE,

                        Plaintiff,


                                                                  COMPLAINT
 TRAVELERS INDEMNITY COMPANY                     )
 OF AMERICA,                                     )
                                                 )
                        Defendant.               )
________________________ L________________ )


       NOW COMES Plaintiff Guilford College (“Guilford College” or “Plaintiff’), and

complaining of Defendant Travelers Indemnity Company of America (“Travelers” or

“Defendant”), alleges and says the following:

                                       INTRODUCTION

       1.       This is a civil action by Plaintiff seeking coverage for loss of business income

under its commercial insurance policy and related damages arising from the recent COVID-

19 outbreak and its detrimental effects on Plaintiffs organization. Plaintiff timely submitted

claims for loss of business income related to CO VID-19 and is seeking to recover damages

under its insurance policy issued by Defendant.          Though the insurance policy provides

coverage for Plaintiffs claims, Defendant has wrongfully denied coverage, violating its policy

obligations, legal duties, and applicable law.

                                           PARTIES

       2.       Guilford College is a private, non-profit college located in Greensboro, North

Carolina.




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       3.      Upon information and belief, Travelers is a corporation duly organized under

the laws of the State of Connecticut, with its principal office located at One Tower Square in

Hartford, Connecticut.

       4.      Upon information and belief, at all times relevant to this action, Travelers is

and was licensed under Chapter 58 of the North Carolina General Statutes and is authorized

to conduct business in North Carolina.

                               JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the subject matter of this action pursuant to,

inter alia, N.C. Gen. Stat. § 1-253.

       6.      This Court has personal jurisdiction over Defendant because, within the time

period relevant herein, Defendant has been licensed to transact insurance business in North

Carolina, has in fact transacted business in North Carolina, or has maintained a substantial

presence in North Carolina, upon information and belief.

       7.      Venue in this Court is proper pursuant to N.C. Gen. Stat. § 1-80 because a

substantial part of the events or omissions giving rise to the claims occurred in this judicial

district and Guilford College is located in Greensboro, Guilford County, North Carolina.

       8.      All conditions precedent as to Plaintiff set forth in the applicable insurance

contract have been performed.

                                 FACTUAL BACKGROUND

       9.      Founded in 1888, Guilford College is a private, non-profit liberal arts college

located in Greensboro, North Carolina. Guilford College has a diverse student body of

approximately 1,700 students and offers 41 majors. Guilford College is a residential campus,

which means the College requires traditional students under the age of 23 to live on campus

and rely heavily on campus facilities.


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        10.    On or around July 15, 2019, Defendant issued Guilford College a commercial

insurance policy, number Y-630-7N363701-TIA-19, for the period of July 1, 2019 to July 1,

2020, which was subsequently renewed under policy number Y-630-7N63701-COF-20 for the

period of July 1, 2020 to July 1, 2021 (collectively referred to as the “Policy”).

        11.    The Policy includes a Business Income Coverage Form that provides coverage

for loss of business income sustained due to the necessary “suspension” of “operations”.

“Suspension” is defined in the Policy as “[t]he partial or complete cessation of your business

activities”.

        12.    The Business Income Coverage Form is subject to a limit of $31,040,880.00.

        13.    On or about January 21, 2020, the United States experienced its first reported

case of the virus COVID-19, upon information and belief. Since then, the virus has now

reached the level of a global pandemic.

        14.    The Centers for Disease Control and Prevention (“CDC”) and studies have

concluded that COVID-19 survives and remains infectious on surfaces and objects for days.

Thus, a person can get COVID-19 by touching a surface or object that has the virus on it and,

as such, COVID-19 physically affects and damages all with which it comes in contact.

        15.    COVID-19 quickly spread around the country, including, based upon

information and belief, within the geographic area set forth in the Policy’s various coverage

provisions discussed herein.

        16.    The CDC tracks and provides data on the progression and instances of CO VID-

19 across the country, including the counties in North Carolina, which is compiled on its

website database as “Coronavirus Disease 2019 (COVID-19),” “Cases and Deaths by County.”

        17.    Various civil authorities have recognized the presence and loss of or damage to

property and people by COVID-19 and the life-threatening dangers it has caused and have


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issued orders impairing (and even eliminating) access to businesses and organizations,

including Guilford College.

       18.      For example, in North Carolina, Governor Roy Cooper issued an executive

order declaring that COVID-19 caused a “State of Emergency,” which is defined as “an

occurrence or immediate threat of severe damage, injury, or loss of life or property” See N.C.

Exec. Order No. 116 (Mar. 10, 2020) (emphasis added) (citing N.C. Gen. Stat. § 166A-19.3(6)

(2019)). The Order defined the “emergency area” as the entire State of North Carolina. Id.

       19.      The Centers for Disease Control (“CDC”) prohibited certain travel.

       20.      Governor Cooper issued Executive Order No. 117, which prohibited gatherings

at Guilford College of more than 100 individuals. N.C. Exec. Order No. 117 (Mar. 14, 2020).

       21.      Governor Cooper further issued Executive Order No. 118, which was issued

due to “an immediate threat of serious physical injury” from COVID-19. N.C. Exec. Order

No. 118 (Mar. 17, 2020). Executive Order No. 119 prohibited in-person dining at Guilford

College’s eating facilities.

       22.      Governor Cooper also issued a statewide Stay At Home Order, effective March

30, 2020, requiring all individuals to stay at their place of residence and restricting non-

essential travel. The Order further prohibited gatherings of more than ten people in a single

room or single space at the same time. N.C. Exec. Order No. 121 (March 27, 2020).

       23.      N.C. Exec. Order No. 121 shut down educational institutions, with the limited

exception of permitting operations for “purposes of facilitating remote learning, performing

critical research, or performing essential functions”.

       24.      Most, if not all, colleges and universities in the state had to take unprecedented

measures in order to protect their students, faculty, staff and the community from the threat

of COVID-19. Most, if not all, ceased the majority of on-campus operations and transitioned

to remote learning in a relatively short period of time.
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       25.      In response to COVID-19, Guilford College originally extended spring break

for one week, with coursework resuming virtually on March 23, 2020, with a plan for students

to return to campus on March 30, 2020.

       26.      As CO VID-19 expanded, Guilford College further decreed that students would

not return to campus for the remainder of the spring semester and the remaining weeks of

spring courses would be delivered remotely. Employees were directed to begin working

remotely.

       27.      In addition to closing its residence halls and dining facilities, Guilford College

was also forced to cancel on-campus and off-campus events to comply with social distancing

orders and restrictions on gatherings.

       28.      Guilford College lost substantial tuition and room and board revenue and

continues to experience substantial loss of income.

       29.      As a result of the above, Guilford College’s normal operations were suspended,

and Guilford College has experienced and is experiencing substantial loss of income and extra

expenses, which are insured and covered under the Policy.

       30.      In accordance with the terms of the Policy, on or around April 19, 2021,

Guilford College timely notified Defendant in writing of the suspension of its business

operations and insurance claims.

       31.      On or around April 21, 2021, Defendant wrongfully denied Guilford College’s

claims, indicating, incorrectly, that the Policy does not cover the losses that Guilford College

suffered.

       32.      Defendant denied coverage because, among other things, “[t]he presence or

possible presence of the CO VID-19 virus does not constitute ‘direct physical loss of or damage

to property’ within the meaning of [the PJolicy.”



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       33.     Defendant further denied coverage on the basis that “[t]he virus exclusion

applies ... as the COVID-19 virus is a virus capable of inducing physical distress, illness or

disease.”

       34.     The Policy’s Deluxe Property Coverage Form provides that the term “Covered

Property” means Guilford College’s premises.

       35.     The Policy’s Deluxe Property Coverage Form provides coverage for, among

other things, “direct physical loss of or damage to Covered Property caused by or resulting

from a Covered Cause of Loss.”

       36.     The Policy’s Deluxe Property Coverage Form provides that “Covered Causes of

Loss means RISKS OF DIRECT PHYSICAL LOSS ....”

       37.     Thus, the Policy’s Deluxe Property Coverage Form provides coverage for:

“direct physical loss of or damage to Covered Property caused hy or resulting from [RISKS

OF DIRECT PHYSICAL LOSS]”.

       38.     The Policy’s Deluxe Property Coverage Form, which applies to direct physical

loss of or damage to Covered Property (defined as the premises described in the declarations)

caused by or resulting from a covered cause of loss, subsequently excludes coverage to

Covered Property caused by Risks of Direct Physical Loss that would otherwise be covered.

       39.     In this regard, the Policy’s Deluxe Property Coverage Form includes a “Virus

or Bacteria” exclusion (hereinafter, the “Virus Exclusion”) that excludes coverage for “loss or

damage caused directly or indirectly by ... [a]ny virus, bacterium, or other microorganism

that induces or is capable of inducing physical distress, illness or disease.”

       40.     Thus, the Policy’s Deluxe Property Coverage Form initially provides coverage

for claims of direct physical loss of or damage to Guilford College’s premises (Covered

Property) caused by any cause of loss, which would include viruses at Covered Property, and


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then excludes coverage for property damage caused by a virus to Covered Property, defined

in the declarations as property at Guilford College.

       41.      Because the Virus Exclusion is in the section of the Policy that only applies to

physical loss of or damage to Covered Property, which is defined as the premises described

in the declarations, the Virus Exclusion only excludes coverage for direct physical loss of or

damage to Covered Property at Guilford College’s properties described in the Policy’s

declarations.

       42.      The Policy provides two distinct categories of insurance—Deluxe Property

Coverage and Deluxe Business Income (and Extra Expense) Coverage—that protect different

business property interests. The Deluxe Property Coverage Form provides coverage for

damage to Covered Property, which is specifically defined as Guilford College’s property. The

Deluxe Business Income (and Extra Expense) Coverage Form provides coverage for lost

business income arising from causes of loss. The Virus Exclusion is contained in the Deluxe

Property Coverage Form. Thus, the Virus Exclusion plainly only excludes coverage for

property damage caused by a virus to Covered Property at Guilford College.

       43.      The Deluxe Business Income (and Extra Expense) Coverage Form provides

that “[t]he following exclusions and limitations apply in addition to the exclusions and

limitations contained in the Deluxe Property Coverage Form.” However, the Deluxe Business

Income (and Extra Expense) Coverage Form does not change the meaning of the Virus

Exclusion as set forth in the Deluxe Property Coverage Form, which is to exclude coverage

for damage to Guilford College’s properties caused by viruses, bacteria, and microorganisms

located at the Covered Property.

       44.      Despite the fact that Guilford College has not claimed physical damage at

Guilford College’s property caused by COVID-19, Defendant has relied upon the Deluxe

Property Coverage Form’s exclusion for damage caused by a virus.
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       45.      Guilford College further contends that any exclusion in the Policy that

Defendant contends applies to COVID-19 is inapplicable as Defendant’s interpretation of

such exclusions are contrary to more favorable reasonable interpretations.

       46.      Defendant has relied on exclusions that are inappropriately broad and

ambiguous. For example, the Deluxe Property Coverage Form’s exclusion for damage caused

by viruses and other microorganisms applies without limitation for when the virus or

microorganism caused property damage or what type of microorganism caused property

damage. Furthermore, microorganism is undefined and could be anything microscopic.

       47.      The virus that causes CO VID-19, or any other virus, is not a microorganism

despite the Policy grouping such pathogens, creating an ambiguity.

       48.      Despite excluding coverage caused by a virus or other microorganism, which

are contaminants and irritants, the Policy specifically provides coverage for costs incurred in

responding to contaminants and irritants.

       49.      The Deluxe Business Income (and Extra Expense) Coverage Form provides

coverage for lost business income from dependent property (not Guilford College’s property)

located anywhere in the world.

       50.      The Deluxe Business Income (and Extra Expense) Coverage Form provides

coverage for civil authority when a covered cause of loss causes damage to property other

than property at the described premises.

       51.      The risk of direct physical loss due to COVID-19 has caused damage to

property within 100 miles of the Covered Property.



               FIRST CLAIM FOR RELIEF—DECLARATORY JUDGMENT

       52.      Guilford College incorporates the preceding paragraphs by reference as if fully

set forth herein.
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          53.   Under N.C. Gen. Stat. § 1-253 et seq., the Court may declare rights, status, and

other legal relations in order to settle and to afford relief from uncertainty and insecurity

with respect thereto, whether or not further relief is or could be claimed.

          54.   An actual controversy exists between Guilford College and Defendant

regarding the parties’ respective rights, duties, and obligations concerning the Policy.

          55.   Guilford College contends, inter alia, that the Policy provides insurance

coverage for Guilford College’s insurance claims, and that Defendant is required to cover the

claims.

          56.   The insuring provision requires that the “direct physical loss of or damage to

property” result from a “Covered Cause of Loss.” While the term “Covered Cause of Loss” is

capitalized, signifying that the term is specifically defined in the Policy, the term is

undefined. Rather, the phrase references the “Covered Causes of Loss” section, which states

that “Covered Causes of Loss” means RISKS OF DIRECT PHYSICAL LOSS. This language

does not prevent coverage, but provides coverage.

          57.   Guilford College contends that the Policy provides coverage for loss of business

income sustained and extra expense incurred.

          58.   Guilford College contends that the Policy provides coverage here under

additional coverages for “Civil Authority” during the period that access to the premises has

been prohibited by action by civil authority.

          59.   Guilford College further contends that the Policy provides coverage under the

loss of Business Income From Dependent Property section of the Policy.

          60.   Guilford College further contends that any exclusion in the Policy that

Defendant contends applies to COVID-19 is inapplicable as Defendant’s interpretation of

such exclusions are contrary to more favorable reasonable interpretations.


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          61.   As a result of the above, Guilford College has experienced substantial losses to

revenues due to its suspension of operations and cancellation of on-campus and off-campus

events, which Guilford College contends are insured and covered under the Policy.

          62.   Though Guilford College has complied with conditions precedent in the Policy

and has submitted notice of its claims, Defendant has denied coverage for Guilford College’s

claims.

          63.   Defendant disputes that coverage is afforded under the Policy, as set forth

above.

          64.   A declaratory judgment will resolve the above disputes and will determine the

parties’ respective rights, duties, and obligations in this matter, and will alleviate the parties’

uncertainty regarding Defendant’s liability and Guilford College’s rights under the Policy.

          65.   Resolution of the duties, responsibilities, and obligations of the parties is

necessary as no adequate remedy at law exists and a declaration of the Court is needed to

resolve the dispute and controversy.

          66.   Therefore, pursuant to N.C. Gen. Stat. § 1-253 et seq., Guilford College is

entitled to a declaration that the Policy provides coverage for Guilford College’s claims.



                SECOND CLAIM FOR RELIEF—BREACH OF CONTRACT

          67.   Guilford College incorporates the preceding paragraphs by reference as if fully

set forth herein.

          68.   Guilford College and Defendant are parties to the Policy described above.

          69.   Guilford College has complied with all conditions and obligations under the

Policy regarding its right to coverage by Defendant for its claims.




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       IQ.     Defendant breached by denying that it has an obligation to cover Guilford

College’s claims, thereby breaching its obligations under the Policy and under North Carolina

law.

       71.     Because Defendant has breached by denying coverage according to the Policy’s

terms, Guilford College has been forced to bear the costs of loss including, but not limited to,

loss of business income and extra expense not normally incurred with respect to its business.

       72.     Defendant has breached by denying coverage under the loss of Business

Income From Dependent Property section of the Policy.

       73.     Defendant has breached by denying coverage for “Civil Authority” for loss of

business income sustained by Guilford College when Guilford College’s business operations

were interrupted or reduced because access to Guilford College’s business location was

impaired by order of civil authority.

       74.     As a direct result of Defendant’s breach of contract, Guilford College has been

damaged in an amount greater than Twenty-Five Thousand Dollars and 00/100 ($25,000.00),

to be determined at trial.



THIRD CLAIM FOR RELIEF—BREACH OF THE IMPLIED COVENANT OF GOOD
                     FAITH AND FAIR DEALING

       75.     Guilford College incorporates the preceding paragraphs by reference as if fully

set forth herein.

       76.     As set forth herein, Defendant is obligated to provide coverage for Guilford

College’s claims under the terms of the Policy.

       77.     Defendant’s obligations are not discretionary.

       78.     To the extent that Defendant argues or contends that it could exercise

discretion in regard to its obligations, however, it has a duty of good faith and fair dealing

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not to take actions that deny Guilford College the ability to receive the benefits to which they

are entitled under the Policy.

       79.        Defendant has a duty to perform its obligations under the Policy that,

according to reason and justice, it should do in order to carry out the purpose for which the

Policy was entered into.

       80.        Defendant has not acted reasonably, in good faith, or in a manner consistent

with fair play.

       81.        Defendant failed to request or seek any investigatory information in order to

investigate Guilford College’s Claims, which insurance carriers are required to do by law.

       82.        Instead, without having conducted the requisite investigation, Defendant

denied coverage for Guilford College’s claims in toto.

       83.        Defendant did not provide an explanation of the basis in the insurance policy

in relation to the facts or applicable law for denial of the claims.

       84.        Defendant’s actions are designed to avoid coverage that is provided under the

Policy for Guilford College’s claims.

       85.        Defendant’s actions are injuring and interfering with Guilford College’s rights

to receive the benefits of the Policy, namely coverage for its claims.

       86.        Defendant’s breaches of the implied covenant of good faith and fair dealing

have caused and will continue to cause damage to Guilford College.

       87.        Guilford College has incurred and will continue to incur cognizable damages

as a result of Defendant’s breaches of the implied covenant of good faith and fair dealing and

is entitled to recovery of its damages.

                                     PRAYER FOR RELIEF

WHEREFORE, Guilford College requests that the Court award the following relief:


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       1.     Judgment declaring that, pursuant to the Policy, Defendant, as a matter of

law, must provide coverage for Guilford College’s Claims as set forth herein;

       2.     An award of compensatory, incidental, and/or consequential damages for

Guilford College against Defendant, in an amount to be determined at trial;

       3.     An award of pre- and post-judgment interest;

       4.     A jury trial on all issues so triable; and

       5.     Such other and further relief as the Court deems just and proper.



      This the /      day of September 2021.

                                                The McDougal Law Firm, PLLC




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